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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 KIMBERLY KAROL ROWELL,

       Plaintiff,                                          Case No. 1:17-cv-05546
 v.
                                                          Honorable Judge Edmond E. Chang
 MEDICREDIT, INC.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, KIMBERLY

KAROL ROWELL, and the Defendant, MEDICREDIT, INC., through their respective counsel that

the above-captioned action is dismissed, with prejudice, against MEDICREDIT, INC., pursuant to

Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.

Dated: December 11, 2017                              Respectfully Submitted,

KIMBERLY KAROL ROWELL                                 MEDICREDIT, INC.

/s/ Taxiarchis Hatzidimitriadis                       /s/ Megan D. Meadows (with consent)
Taxiarchis Hatzidimitriadis                           Megan D. Meadows
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